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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS
                       ____________________________________
                                          )
Aura Salazar et al                        )
                                          )
              Plaintiff(s),               )
                                          )
v.                                        )
                                               Civil Action No. 23-cv-11625-LTS
                                          )
Fulfillment America, Inc. et al           )
                                          )
                                          )
              Defendant(s).               )


    ORDER REQUIRING COMPLIANCE WITH GENERAL PRACTICES OF THIS SESSION
                                            10/31/2023

SOROKIN, D.J.

        To simplify procedures and minimize expense, the Court has adopted the following general
practices governing all civil cases in this session unless, upon motion for good cause shown or sua
sponte, the Court orders otherwise. As to matters not specifically covered in this Order, the Federal
Rules of Civil Procedure and the Local Rules of this District shall govern.

     1. Junior attorneys: Counsel shall review the Court’s Standing Order Regarding Courtroom
        Opportunities for Relatively Inexperienced Attorneys, which encourages the participation of
        junior associates and other less experienced lawyers in all court proceedings (including, in
        particular, the attorney who wrote the substantial majority of the papers giving rise to the
        relevant proceeding). *

     2. Reply briefs: As to any motion, the moving party may submit a reply brief, as of right.
        Replies shall be limited to five pages in length and are due one week after the filing of the
        opposition. A motion for leave is required to file a longer reply or to obtain a longer period
        to reply.

     3. Summary judgment: Counsel shall review the Court’s Standing Order Regarding Briefing of
        Summary Judgment Motions, which, inter alia, specifies the order and timing of cross-
        motions and requires the submission of one combined statement of material undisputed facts.



*
 All of this Session’s Standing Orders, including those referenced herein and one pertaining to
protective orders in complex matters, are available on the Court’s website at
http://www.mad.uscourts.gov/boston/sorokin.htm, under the heading “Chambers
Procedures/Standing Orders/Sample Orders.”
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4. Courtesy copies: Counsel shall review the Court’s Standing Order Re: Courtesy Copies,
   which requires the submission of one paper courtesy copy of any memorandum which,
   including supporting documents/exhibits, exceeds 100 pages in length.

5. Local Rules: Counsel shall review and adhere to all relevant Local Rules, including L.R.
   5.1(a) (governing form of papers and requiring, inter alia, double spacing), L.R. 7.1
   (governing motion practice and, inter alia, requiring conferral in good faith before filing any
   motion and limiting memoranda to twenty pages), and L.R. 37.1 (governing discovery
   disputes and requiring, inter alia, conferral in good faith before filing any discovery motion).


                                                    SO ORDERED.

                                                    /s/ Leo T. Sorokin
                                                    United States District Judge




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